 

  

pg * oxay

AUG $4 Wud
8/17/20

Court
Re; Case 4:19-cv-05041, Lilly Amne Hopkins v. Lorie Davis ,Dallds: Bradley, Clerk of

To The Clerk Of The Court,

I am sending two seperate envelapes due ta the large number of Documents
being sent. The first folder contains:

Memorandum and Index accompanying 1st set of Documents/Exhibits

in Supplement of Plaintiff's Amended Complaint, and

Documents #1-19

The secand folder contains;
Documents 20-41, and
Document 42/Exhibit 1

Please note, some of the documents are two sided. I da not have access
to a copier to make all the documents one sided. However, each document
Contains a cover sheet which notes whether the document is one or

two sided.

Please let me know if you have any questions or if there are any
issues.

Thank You,

Lilly Anne Hopkins

Lilly Anne Hopkins. AKA
Samuel Hankins, TDCI 419864831
Connally Unit

899 FM 632

Kenedy, TX 78119

ctr sat NOSE Rc NSN RN PROTA maa nn

 
IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

 

AUG 3 1 2020

LILLY ANNE HOPKINS, A.K.A.,

SAMUEL HOPKINS, TDCI #1986831 David J. Bradley, Clerk of Court

Plaintiff,
Ve CIVIL ACTION NOD. 4:19-cv-05041

LORIE DAVIS, et al.,

CD? 607 699 CD CIO KDI CD KD KD

Defendants.

MEMORANDUM AND INDEX ACCOMPANYING 1ST SET OF DOCUMENTS/EXHIBITS
IN SUPPLEMENT OF PLAINTIFF'S AMENDED COMPLAINT

 

1. Each Document and or Exhibit is accompanied by a Bocument cover
sheet. Per court instruction to me the Document Cover Sheet has the
Case number (4:19-cv-05041) on it. Some documents are double sided and
I have typically indicated this on the cover sheet. This Memorandum
Will serve to both list the documents/exhibits being submitted and to
link them to the related facts/assertions they support.

INDEX OF DOCUMENTSZEXHIBITS

 

DOCUMENT # DOCUMENT DESCRIPTION

 

! Medical Record (MR) 1/28/16 09:55

2 MR 2/16/16 11:30

3 MR 2/23/16 08:52

4 MR 3/14/16 16:06

5 MR 3/14/16 20-47

6 MR 3/14/16 20:58

7 MR 3/31/16 14:01

8 MR 4/1/16 15:26

9 “ME MR 6/24/16 13:31
10 MR 6/24/16 14:15

11 MR 6/30/16 11:28

 
DOCUMENT # DOCUMENT DESCRIPTION

 

 

12 MR 7/15/16

13 MR 12/12/16 12:31

14 MR 1/31/18 20:41 and Labs

15 MR 8/30/18 12:13

16 MR 10/30/2018 08:29

17 MR 11/30/2018 08:42

148 MR 4/30/19 14:49 and Labs

19 MR 4/26/19 11:51

20 MR &/30/19 15:51

21 MR 5/2/19 15:34

22 MR 5/7/19 09:27

23 MR 7/30/19 13:54

24 MR 2/12/20 14:45

25 Grievance #2019043975

26 Grievance #2019076803

27 Grievance #2019125319

28 Grievance #2019094320

29 Grievance #2019117999

30 MR 1/25/16 Sick Call Request
31 MR 11/13/2019 14:16

32 MR 02/06/2020 10-40

33 MR 03/05/2020 15:09

34 MR 03/10/2020 08-08

35 MR 04/24/2020 10:39

36 Declaration of Rashida-Marie Hopkins
37 Autocastration and Autopenectomy as Surgical Self-~Treatment

in Incarcerated Persons with Gender Identity Disorder.
2

 
DOCUMENT # DOCUMENT DESCRIPTION

 

37, CONTINUED George R. Brown. International Journal of Transgenderisn,

2010

38 American Medical Association Resolution 122 (A-08)

39 Correctional Managed Health Care Policy G-51.11

40 National Commission on Correctional Health Care Position
Statement

41 World Professional Association of Transgender Health's

Standards of Care
42 (Exhibit 1) TOCI Offender Orientation Handbook rev. Feh 2017
MEMORANDUM
2 To ease readership I will present the facts or assertions of
the Amended Statement of Claim in the order in which they were presented.
3. That the Gender Specialists have recognized Plaintiff as a
Transgender Woman and have adopted the use of female pronouns is
Supported by Documents; 18, 19, and 23.
4. There is confusion of when I was documented with a néported history
of gender dysphoria (GD). I mailed a sick call on 1/26/2016, see
document 39, however it wasn't formally input into the system for
2 days, see document 2. I apologize for the immaterial discrepancy.
3. Iwas formally diagnosed with GD on 10/10/2016 per document 13.
6. In Paragraph (Par.) 2 of the amended complaint I described just
some of th2 consequences if GD is left untreated. Support may be
found in Document (Doc) 38.
7. %In Par, 3 af the Amended Complaint I described living part time
as a female from 2003 up until my incarceration in 2012. In addition
to my own words My wife at the then time has attested to this in

a self sworn declaration, see Doc. 36.

®. Bites -Soe> 0 else noe ts: OS lnD.O BD ead emcoraxiey
3

 

 

 
B. In Par. 4 of the Amended Complaint (Am.Comp.) I mentioned a reported
history of suicide attempts. The pre TDCI suicide attempts were documented
id Doc.'s 12 and 18.

9. In Par. 4&4 of the Am.Comp. I said that I had sought HRT from TDCJ

in January of 2016. This is documented in Doc.'s 1, 2, 3, and 30.

10. In Par. & IT outlined some of the consequences of lack of initiation
of hormones when medically necessary. Support for this can be found

in Doc.'s 37, and page 68 of Doc. 41.

11. In Par. 5 of the Am.Comp. I stated that I castrated myself, support
for this can be found in Doc.'s 4, 5, 6, 7, and 8S.

12. In Par. 8B of the Am.Comp. I stated that castration in my case
Bliminated the need for testosterone blockers, this can be shown

by Doc. 14,

13. In Par. 8 of the Am.Comp. I stated that my testosterone is low

by female standards. Doc. 14 shows this and the baseline for what

is typical by female standards. Subsequent labs in Doc.'s 18, 19,

23, and 24 confirm the levels.

14. In Par. 10 of the Am.Comp. I stated that following castration

I went to a mental hospital and there continued to seek help for

gender issues. See Doc 's 4-8,

15. In Par. 10 of the Am.Comp. I stated that after release from skyview
(mental hospital) I faced going back to a place that was not helping
me with GD and in fact exacerbated my condition. This is supported

by Doc.'s 9 and 10 (showing that I faced going back).

16. In Par. 10 of the Am.Comp. I stated that I then made a suicide
attempt slicing my jugular veins using a razor blade. This can be

shoun in Doc.'s 10 and 11. Doc. 11 on page 2 confirms that I got

4

 

 
 

the jugular veins,

17. Par. 11 af the Am.Comp. states that I was formally diagnased

with GD on October 10th, 2016. This can be shown in Doc. 13, page

1 middle of th®2 page.

18 In Par. 11 of the Am2Comp. I stated that I was started on HRT
December 12th, 2016 This can be shown in Doc. 13.

19. In Par. 11 of the Am.CoOmp. I described Correction Managed Health
Care Policy G-51.11 and that it provides for ane treatment and one
treatment only, HRT. Document 39 contains a copy of this Policy.

20. In Par. 12 of the Am Comp. I have stated that the GendernSpecialists
have noted the need for additional care. This was shown in Doc.'s

16 and 18,

21 In Par. 12 I have noted some of the things that a Treatment Plan
Could involve: Support for this can be found in Doc. 41.

22. In Par. 13 of the Am.Comp., I stated that"Beginning in 2018 and
cantinuing to present the GD Specialists have noted self-harm, self-
Mutilation, and suicidal ideation in me regarding gender role and
expression and have roted that I could benefit from being able to
express myself as female", This can be shown in Doc.'s 16, 18, 19

and 24,

23. In Par. 13 of the Am Comp. I stated that being able to express
myself as female (female gender role and expression) is the very first
treatment aption listed in the World Professional Association 2f
Transgender Health (WPATH) Standards of Care (SOC). This can be shown
in Dac. 41 page:9..

24. I stated in Bar. 14 that tne Gender Snoecialists are not able to

develop an individual treatment plan (ITP) under G-51.11. This can
b2 shown in Doc.22 and 39 which show that HRT is the only treatment
option Listed and when I tried to implement the recommanded care

I was told that medical could not provide it and they referred it

as something I would have to address with secuerity as they set the
policies. This can also be shown in Dos 22 and 264.

25. In Par. 14 of the Am.Como. I stated that the GD Specialist Dr.
Gordon even brought my case before the Head of TDC3 Psychiatry, Da
Defendant Dr. Jospeh Penn, this can be shown in Doc.'s 18 and 24.
26. In Pas. 14 of the Am.Comp. I stated that "as of yet there is

no fulkbitreatment plan" that they "have noted some of what treatment
Would help me and it has stopped there, even that is not being implemented.
This can be shown in Doc.'s 16, 18, and 24,

27. In Par. 15 of the Am.Comp., I stated that Dozier noted that I
Could benefit from being able to express myself as female. This is
shown in 16. Dozier is one of the two Gender Specialists I see.

28. In Par. 15 of the Am.Comp. I stated:that Dr. Gordon, the other

of the two Gender Specialists, noted that I have increased Dysphoria
related to Gender Expression. This can be shown in Doc.'s 18 and 24.
29. This is repetitive, but also in Par. 15 I again stated that Dr.
Gordon brought my case before the head of TDCI Psychiatry, Dr. Joseph
Penn in light of the significant distress I am experiencing relating
to gender expression, and that again the care is not being provided.
That is shown in Doc.'s 18 and 24,

30. In Par. 16 of the Am.fomp. I stated that I sought to have the
Tecammended care pravided, that a Dr. tried to provide this care

but the system would not allow it, and that I grievedit and they

relied on TDCI Policies. This can be shown in Doc.'s 31, 25, and 26.

 

 
31. In Par. 16 of the Am.Comp. I stated that after grieving medical

I was told to address my issues through TDCI channels. I did this
through Grievances, see Doc.'s 27, 28, and 29. They relied upon TDCI
Policies set forth by Defendant Lorie Davis.

32. In Par. 16 of the Am.Comp. I stated that Lorie Davis is responsible
for the TDCI Policies which were relied upon in the denial of my

Care. That Lorie Davis as responsible for these policies can be shown
through Texas Government Code § 493.004 and § 494.002 and Doc. 42
(Exhibit 1).which is the TDCI Offender Orientation Handbook. That
information is available on the Cover of the Handbook.

33. What Gender Expression has included per the Gender Specialists

Can be shawn in Doc.'s 16 (hair and female garb), 18 (hair, makeup,

and clothing). See also Doc 24 where I, subsequent to the lausuit,

asked them to note what grooming and clothing would benefit me and

the discussion focused more on my preferences but did note forced
haircuts triggers worsening self harm and increased thoughts of suicide.
At that time my case was again brought before Defendant Dr. Joseph
Penn and it was also recommened that I get counseling as I was at

a particularly high risk of suicide. Nothing was done to stop me
being forced ta groom as a man and I did nat received recammended
counseling. Less than a month later following being ordered to once
again groom as a man JI lost it and attempted suicide by slitting

my wrist, slitting my arm from wrist to elbow. then slitting across
the elbow slicing up the antecubital. This can he shown in Doc.'s
33, 34, and 35.

34, In par. 19 of the Am.Comp. I stated that I am forced to dress
in male clothing and comply with male grooming standards. This can

be shown in Doc.'s 21, 27, 28, ard 29.
7

 
 

 

 

35. In Par. 18 of the Am.Comp. I stated that hair and clothing ame
are in the record as causing me the most distress. That is ta say
being forced to dress and groom as aman and being prevented from
dressing and grooming as any other female inmate would. .This can
be shown in the record in Dac.'s 15, 16, 18, 19, 20, 21, 23, 24, 34 and 35.
36. In Par. 20 of the Am.Comp. I stated that "Cisgender prisoners,

that is prisoners whose gender identity corresponds to their sex
assigned at birth are allowed to dress and groam ina way that reflects
their gender identity" that "[t]they aren't forced to endure the
humiliation of forced cross gender expression’ This can be shown

in Doc. 27 and Doc. 4&2.

37. In par. 22 of the Am.Comp. I stated that I self harm after being
forced to groom as a man. This can be shown in Doc.'s 15, 16, 19,

20, 24, and 31-35.

38. In Par. 24 of the Am.Comp. I stated that TDCI has female clothing
and grooming standards. While this is rather self explanatory it

Can be shown in Document 42/Exhibit 1. I can provide additional suport
upon request. As it was mentioned in the previous paragraph Par. 23.

of the Am.Comp. I have even refused to wear the provided male boxers

if that is an option, this was recorded in Doc 16, And as evidenced

by the numerous times I have been ordered to cut my hair and the
resulting self harm (see par.35 of this document) I am also attempting
as much as is possible to groom as a female,

39. In Par. 25 of the Am.Comp. I stated the GD Specialists and Dr,

Penn are auare that the imposition of male grooming and clothing
eradicates my female gender role and expression causing distress,

actual harm through self-harm and self-mutilation, and a substantial
risk of serious harm through suicidal ideation. This has been documented
in my medical record. See Par. 22 and 37 of this document.

40. Finally, in par. 26 of the Am.Comp. I stated that I am asking
that they make an individual determination of what my needs are.
While the lawsuit itself is asking this, it can be shown in Doc.'s
16 and 18 that they have already identified some things that would
help me (though they weren't provided). And following this lawsuit

I asked explicitly at my last appointment with the GD Specialists
that they please identify in the record what would help me, see Doc.
24,

41. This document contains information that occurred subsequent to
the filing of the first amended complaint. Accordingly I declare
under penalty of perjury that all facts presented in this docuement

and attachment hereto are and correct to the best of my knowledge.

EXECUTED an Rugusk lbYy 20 a0
dilly Anew Yophita AKA dom Yephuins

Lilly Anne Hopkins AKA Samuel Hopkins

 

Respectfully Submitted,

 

Cannally Unit
899 FM 4632
Kenedy, TX 78119

 

 
